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 1                                                                   Honorable Richard A. Jones
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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8   UNITED STATES OF AMERICA,
 9                                  Plaintiff,       NO. CR 14-000165 RAJ
10   v.
                                                     ORDER GRANTING DEFENDANT
11   CRAIG GREER,                                    CRAIG GREER’S MOTION TO EXTEND
                                                     DATE FOR VOLUNTARY SURRENDER
12                                  Defendant.
13

14          THIS COURT, having considered Defendant Craig Greer’s Motion to Extend Date for

15   Voluntary Surrender, the Government’s Response, Defendant’s Reply, and the records and

16   pleadings already on file, it is hereby

17          ORDERED that Defendant Craig Greer’s Motion to Extend Date for Voluntary

18   Surrender (Dkt. #294) is GRANTED.

19          IT IS FURTHER ORDERED that Defendant Craig Greer shall self-surrender to

20   FCI Williamsburg Satellite Camp, Salters, South Carolina, on July 23, 2016 at 10:00 a.m.

21          DATED this 17th day of June, 2016.

22

23
                                                        A
                                                        The Honorable Richard A. Jones
                                                        United States District Judge
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     ORDER GRANTING DEFENDANT CRAIG GREER’S MOTION
     TO EXTEND DATE FOR VOLUNTARY SURRENDER
     PAGE – 1                                                            1301 - Fifth Avenue, Suite 3401
                                                                         Seattle, Washington 98101-2605
                                                                                  (206) 623-6501
